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                 United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 22-1142                                               September Term, 2022
                                                          FILED ON: AUGUST 29, 2023

GRAYSCALE INVESTMENTS, LLC,
                  PETITIONER

v.

SECURITIES AND EXCHANGE COMMISSION,
                   RESPONDENT


                              On Petition for Review of an Order
                         of the Securities and Exchange Commission


       Before: SRINIVASAN, Chief Judge, RAO, Circuit Judge, and EDWARDS, Senior Circuit
              Judge
                                    JUDGMENT

      This cause came on to be heard on the petition for review of an order of the Securities
and Exchange Commission and was argued by counsel. On consideration thereof, it is

      ORDERED and ADJUDGED that Grayscale’s petition for review be granted and the
Commission’s order be vacated, in accordance with the opinion of the court filed herein this
date.

                                         Per Curiam



                                                           FOR THE COURT:
                                                           Mark J. Langer, Clerk

                                                    BY:    /s/

                                                           Michael C. McGrail
                                                           Deputy Clerk


Date: August 29, 2023

Opinion for the court filed by Circuit Judge Rao.
